            Case 1:19-cv-02838-TSC Document 11 Filed 02/19/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


GONZALO GUISBERT,

                       Plaintiff,

       v.
                                                Civil Action No. 19-cv-02838
WASHINGTON CONVENTION AND
SPORTS AUTHORITY t/a EVENTS DC,

                       Defendant.


                          DEFENDANT’S MOTION TO DISMISS
                       PLAINTIFF’S FIRST AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Washington Convention

and Sports Authority t/a Events DC (“Events DC”) hereby moves to dismiss Counts 5 and 6 of

Plaintiff Gonzalo Guisbert’s First Amended Complaint for failure to state a claim upon which

relief can be granted. For the reasons explained in the accompanying Memorandum of Law,

Events DC respectfully requests that the Court grant its motion and dismiss Counts 5 and 6 in

their entirety, with prejudice.


Dated: February 19, 2020                        Respectfully submitted,


                                                /s/ Jocelyn R. Cuttino
                                                Jocelyn R. Cuttino (D.C. Bar No. 998367)
                                                Elizabeth A. Johnston (D.C. Bar No. 1023541)
                                                MORGAN, LEWIS & BOCKIUS LLP
                                                1111 Pennsylvania Avenue, N.W.
                                                Washington, DC 20004
                                                Tel: (202) 739-3000
                                                Fax: (202) 739-3001
                                                jocelyn.cuttino@morganlewis.com
                                                elizabeth.johnston@morganlewis.com
  Case 1:19-cv-02838-TSC Document 11 Filed 02/19/20 Page 2 of 2




                       CERTIFICATE OF SERVICE


I certify that on February 19, 2020 a copy of this Motion was served via CM/ECF on:

              Thomas J. Gagliardo
              Gilbert Employment Law, P.C.
              1100 Wayne Avenue, Suite 900
              Silver Spring, MD 20910
              Tel: (301) 608-0880
              Fax: (301) 608-0881
              tgagliardo@gelawyer.com

                                                  /s/ Jocelyn R. Cuttino
